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                               THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF UTAH


    DARRELL SMITH,                                 ORDER GRANTING STATE
                                                   DEFENDANTS’ MOTION FOR LEAVE
                              Plaintiff,           TO FILE OVERLENGTH REPLY IN
                                                   SUPPORT OF THEIR MOTION TO
    v.                                             DISMISS

    UTAH DEPARTMENT OF AGRICULTURE
    AND FOOD, SHANN FINLINSON, THANE               Case No. 4:21-cv-00118-DN-PK
    MARSHALL, COREY CATTLE
    COMPANY, LLC, and MIKE COREY,                  District Judge David Nuffer

                              Defendants.          Magistrate Judge Paul Kohler


           Based on Defendants Utah Department of Agriculture and Food, Shann Finlinson, and

Thane Marshalls’ (collectively “State Defendants”) Motion for Leave to File an Overlength

Reply in Support of their Motion to Dismiss (the “Motion”) 1, and good cause appearing therefor,

           IT IS HEREBY ORDERED that State Defendants’ Motion is Granted and State

Defendants are given the leave requested to file a reply brief up to 900 words overlength.

           Signed May 5, 2022.

                                              BY THE COURT:


                                              __________________________
                                              David Nuffer
                                              United States District Judge



1
    Docket no. 23, filed May 4, 2022.
